                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION

 UNITED STATES OF AMERICA,                      )
                                                )
                Plaintiff,                      )    No. 08-CR-2011-LRR
                                                )
         vs.                                    )
                                                )
 ROBERT RAY DAVIS,                              )
                                                )
                Defendant.                      )

                                       ORDER

      This matter came before the Court for sentencing to pronounce and impose

sanctions. On January 17, 2018, after notice and hearing, the Magistrate Judge

filed a Report and Recommendation for sanctions or resentencing. No party

objected to the Report and Recommendation. After a full hearing on the matter, the

Court now finds the appropriate sanction is to hold the defendant in contempt of

court for his willful failure to pay restitution. Therefore, pursuant to 18 U.S.C.

§ 401(a)(3), the Court finds the defendant is in contempt of the Court’s sentencing

order issued April 9, 2009, which ordered defendant to pay victim restitution.

      Therefore, the Court orders:

      (1) The defendant is hereby sentenced to 30 days incarceration. The Court,

          per defendant’s request, withholds mittimus on this 30-day sentence until

          March 22, 2018, in order to allow defendant to cure his contempt by full

          payment of his restitution obligation of $43,134.33. See Hutto v. Finney,

          437 US 678, 690 (1978) (“civil contempt proceedings may yield a



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    conditional jail term or fine”); Penfield Co. of Calif. v. SEC, 330 U.S. 585

    (1947) (imprisonment governs civil and criminal contempt proceedings).

    The parties and defendant are to appear on March 22, 2018, at 9:00 a.m.,

    for further hearing on this matter.

 (2) The defendant is hereby ordered to pay $300 per month, on or before the

    last day of each month, with the first payment due by February 28, 2018;

    and monthly payments continuing thereafter, until his restitution

    obligation is paid in full. This payment plan shall remain in effect until

    the termination of this case or until otherwise modified by this Court.

 (3) The defendant is ordered to file, by, the 10th day of each month, a status

    report describing the efforts he made during the preceding month to find

    regular verifiable employment. This obligation will continue until the

    judgment is paid in full.



 Dated: February 26, 2018.




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